             IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION
              CIVIL CASE NO. 1:20-cv-00092-MR-WCM



RUPA RUSSE, et al.,              )
                                 )
                  Plaintiffs,    )
                                 )
     vs.                         )             MEMORANDUM OF
                                 )             DECISION AND ORDER
UNITED STATES OF AMERICA,        )
                                 )
                  Defendant.     )
________________________________ )


     THIS MATTER is before the Court following a bench trial on the

Plaintiffs’ claims pursuant to the Federal Tort Claims Act (“FTCA”), 28 U.S.C.

§ 1346. Upon consideration of the testimony and evidence presented by the

parties, the Court hereby enters the following Findings of Fact and

Conclusions of Law.

                              BACKGROUND

     The Plaintiff Rupa Russe (“Ms. Russe”) brings this action against the

United States under the FTCA as executor of the Estate of Katherine Monica

Vickers (“Ms. Vickers” or “the Decedent”), asserting claims of medical

malpractice, wrongful death, and claims of intentional and/or negligent




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infliction of emotional distress on behalf of the Decedent.1 Ms. Russe also

asserts claims of intentional and/or negligent infliction of emotional distress

on her own behalf as the Decedent’s daughter. The Plaintiffs’ claims arise

out of the alleged failure of medical personnel at the Charles George

Veterans Affairs Medical Center in Asheville, North Carolina (“Charles

George VAMC”) to diagnose the Decedent’s brain tumor in a timely manner,

resulting in the tumor being inoperable by the time of discovery, and

ultimately resulting in the Decedent’s death in October 2018.2

       Although     the    claims     asserted     in   this    action    are    relatively

straightforward, the litigation of this action has been anything but. This case

has been presented in an extremely haphazard and disorganized manner,

resulting in over 200 filings to date. This haphazardness and disorganization

only intensified when this case proceeded to a bench trial. There was a great




1 The Plaintiffs’ Complaint also asserted causes of action for medical negligence against

the United States Department of Veterans Affairs (“VA”) medical facilities in Washington,
D.C. and Durham, North Carolina, as well as claims for breach of contract and gender
discrimination. Those claims were dismissed prior to trial. [Doc. 42].
2 In their Complaint, the Plaintiffs specifically allege that VA personnel were negligent in

failing to timely and properly care for, evaluate, treat, monitor, provide follow-up testing
for, and review the complete medical records of Ms. Vickers. [Doc. 1: Complaint at ¶ 99].

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deal of confusion regarding the order and numbering of exhibits.3                       The

Plaintiffs4 repeatedly failed to comply with the instructions set forth in the

Pretrial Order and Case Management Plan regarding the presentation of

evidence. In some instances, the Plaintiffs presented testimony that did not

advance any particular issue. In another instance, the Plaintiffs sought to

submit an affidavit of a witness who had already testified—thereby

attempting to supplement trial testimony without allowing the Defendant

cross-examination on this new evidence. Despite these difficulties, the Court

nevertheless now seeks to put the pieces together in order to find the facts

that are supported by the evidence and to adjudicate the Plaintiffs’ claims.

             FINDINGS OF FACT AND CONCLUSIONS OF LAW

                            A.     Statute of Limitations

       A threshold question in this case is whether the Plaintiffs’ claims are

barred by the statute of limitations. The FTCA provides that “[a] tort claim



3 The parties identified more than 500 exhibits, consisting of thousands of pages, most of

which were medical records. Rather than presenting a chronological joint appendix of
these records, the parties presented their own sets thereof, in no particular order that the
Court can discern. More frustrating, however, was the situation where some record was
identified on both the Plaintiffs’ and the Defendant’s exhibit lists, implying that they were
the same document, only to learn mid-trial (for instance) that the Plaintiffs’ version
consisted of seven pages while the Defendant’s version consisted of four.
4 The Estate is represented by attorney Brooke Nichole Scott.The Plaintiff Rupa Vickers
Russe is also an attorney who is proceeding pro se with respect to her individual claims.
                                          3



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against the United States shall be forever barred unless it is presented in

writing to the appropriate federal agency within two years after such claim

accrues . . . .” 28 U.S.C. § 2401(b). In order to “present” a claim to a federal

agency, a claimant must submit a claim in writing by means of a “Standard

Form 95” (“SF 95”) or some equivalent thereof. See Ahmed v. United States,

30 F.3d 514, 517 (4th Cir. 1994). The SF 95 must provide notice that “(1) is

sufficient to enable the agency to investigate and (2) places a ‘sum certain’

value on her claim.” Id. (quoting Adkins v. United States, 896 F.2d 1324,

1326 (11th Cir. 1990).

      Here, Ms. Russe submitted an unsigned SF 95 on October 8, 2019,

and an identical, but signed, SF 95 on December 12, 2019. Both SF 95s

asserts claims for “[m]ental and physical suffering of deceased, Katherine

Vickers; loss of earning capacity due to decreased life span; physical pain

and suffering, emotional suffering by deceased due to diagnosis, loss of

familial relationships; Present cash value of deceased and loss of

consortium, tangible and intangible, suffered by deceased’s three surviving

children, and three surviving grandchildren.” [Pl. Ex. 303 at 4, 8] (errors

uncorrected).   Therefore, the only claims upon which the Plaintiffs can




                                       4



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proceed in this Court are those claims which accrued within two years of the

filing of the SF 95s.5

       As to the medical malpractice claims asserted by the Plaintiff on behalf

of the Estate, the continuous treatment doctrine reaches back to include

negligent actions during a period of continuous treatment which extends into

that two-year period. Therefore, the Court will first examine the extent to

which the continuous treatment doctrine applies to this case.6

       Generally, a tort claim accrues at the time of injury. 28 C.F.R. §

801.2(d); see also United States v. Kubrick, 444 U.S. 111, 120 (1979).

However, the Fourth Circuit has instructed that “[a] medical malpractice claim

under the FTCA accrues when the claimant first knows of the existence of

an injury and its cause.” Miller v. United States, 932 F.2d 301, 303 (4th Cir.



5Because the Court determines that both SF 95 forms were received more than two years
after the medical malpractice and wrongful death claims accrued, the Court need not
decide whether an unexecuted SF 95 properly presents an administrative claim under the
FTCA.
6 The Plaintiffs previously have contended that this Court already determined that the

“Plaintiffs’ claims against the [Charles George VAMC] were timely presented before the
FTCA statute of limitations ran” in denying in part the Government’s motion to dismiss.
[Doc. 120-2: Pltf. Response to MSJ at 1]. The Court’s Order denying the motion to
dismiss, however, is clear: the Court determined that the Plaintiffs had adequately alleged
that their claims were timely filed, thereby preserving this issue for trial. [See Doc. 42 at
30]. The burden remained with the Plaintiffs to present sufficient evidence at trial to show
that their claims were timely filed and, if necessary, the application of the continuous
treatment doctrine. The Plaintiffs’ apparent assertion that the Court’s prior Order
constituted some sort of partial judgment on the issue is entirely misplaced.
                                              5



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1991) (citing Kubrick, 444 U.S. at 119-24). A plaintiff need not have actual

knowledge of negligent treatment or be informed of the specific cause of

injury to trigger the running of the limitations period. Clutter-Johnson v.

United States, 714 F. App’x 205, 206-07 (4th Cir. 2017) (citing Kubrick, 444

U.S. at 122; Gould v. U.S. Dep’t of Health and Human Servs., 905 F.2d 738,

742 (4th Cir 1990) (en banc)). Rather, the relevant inquiry is “whether [a

plaintiff] knows or, in the exercise of due diligence, should have known . . .

the cause of [the plaintiff’s] injury.” Clutter-Johnson, 714 F. App’x at 206-07

(quoting Gould, 905 F.2d at 742) (internal quotation marks omitted).

      The statute of limitations for a medical malpractice claim, however,

may be tolled by the continuous treatment doctrine. Miller, 932 F.2d at 304.

Under this doctrine, “the statute of limitations does not begin to run on a

medical malpractice claim upon a claimant’s initial discovery of an injury and

its cause so long as the claimant remains under the ‘continuous treatment’

of a physician whose negligence is alleged to have caused the injury; in such

circumstances, the claim only accrues when the ‘continuous treatment’

ceases.” Id. Thus, the continuous treatment doctrine “effectively trumps a

rigid application of Kubrick’s first discovery rule,” id., and it allows a plaintiff

to refrain from “challenging the quality of care being rendered until the

confidential relationship [between a plaintiff and her doctor] terminates,” Otto
                                         6



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v. Nat’l Instit. of Health, 815 F.2d 985, 988 (4th Cir. 1987). The continuous

treatment doctrine applies only where “the treatment at issue is for the same

problem and by the same doctor, or that doctor’s associates or other doctors

operating under his direction.” Miller, 932 F.2d at 305; see also Otto, 815

F.2d at 988-89 (holding that the continuous treatment doctrine applied where

the plaintiff’s “care at [the National Institute of Health (“NIH”)] was

supplemented with the follow-up treatment of local private physicians[, and]

that additional treatment was rendered at the advice and under the direction

of the NIH physicians”).

       Here, the Plaintiffs assert that Dr. Lara Hume, as Ms. Vickers’s primary

care physician and director of her care dating back to 2012, failed to

diagnose Ms. Vickers’s brain tumor when it was still treatable.7 The Plaintiffs

further claim that Dr. Hume continuously treated Ms. Vickers until at least

February 2018, and thus the statute of limitations does not bar their medical

malpractice claim. In order for the continuous treatment doctrine to allow the

Plaintiffs to proceed on this theory, it was the Plaintiffs’ burden to prove that

Dr. Hume’s treatment of Ms. Vickers (or treatment by Dr. Hume’s



7 As is discussed more fully infra, the Plaintiffs offered no competent evidence at trial to

show when the brain tumor could have been diagnosed or treated any earlier than 2017.

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“associates,” at her direction) extended into the two-year period immediately

preceding the filing of a proper SF 95.8

       As explained more fully in the detailed findings regarding Ms. Vickers’s

medical treatment, infra, the Plaintiffs’ medical malpractice claims accrued9

on August 30, 2017, when both Ms. Russe and Ms. Vickers became aware

that the Decedent had a brain tumor and that it had been present during the

prior five to ten years, during some portion of which period the Plaintiffs claim

that the tumor was operable. This date is more than two years before the



8 The Plaintiffs appear to argue that the continuous treatment doctrine applies to     all
treatment provided by the VA to Ms. Vickers—going all the way back to the late 1980’s.
The Plaintiffs’ position is apparently based on the idea that all healthcare providers
employed by the VA are “associates” of each other and working at each other’s direction.
This argument, however, would lead to the conclusion that there is essentially no statute
of limitations for FTCA claims against the VA so long as the veteran is receiving care at
some VA facility somewhere in the country. The Plaintiffs have provided no authority for
such a bold proposition. The Plaintiffs do not even explain how doctors at two different
VA medical centers in different states, who have no communication with one another, are
being “directed” by each other.
9 The Plaintiffs do not claim that the accrual of the Estate’s wrongful death claim accrued

on a date different from the accrual of the medical malpractice claim. North Carolina law
would appear to indicate that it does—accruing on the date of death. N.C. Gen. Stat. §
1-53(4); Udzinski v. Lovin, 159 N.C,App. 272, 278, 583 S.E.2d 648, 652 (2003). When a
claim pursuant to the FTCA accrues, however, is a question of federal law. Gould, 905
F.2d at 742. As noted supra, a medical malpractice claim under the FTCA that resulted
in death accrues when the plaintiff first knows of both an injury and its cause, even if the
decedent later dies as a result. See Miller, 932 F.2d at 303 (holding that wrongful death
was time-barred when two-year statute of limitations had already run on underlying
medical malpractice claim). Thus, while it would appear that the Plaintiffs’ wrongful death
claim might have survived if it could have been brought under North Carolina law, it is
nevertheless time-barred under the FTCA.

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earlier of the Plaintiffs’ attempted SF 95 filing. While the Plaintiffs argue that

Dr. Hume’s treatment and direction of treatment extended past that date, the

evidence at trial showed, and the Court so finds, that the treatment of Ms.

Vickers from August 30, 2017 forward was directed by Dr. Dina Randazzo at

Duke University Medical Center (“Duke”).                   While Dr. Hume signed

authorizations after that date for chemotherapy and radiology, those

treatments were prescribed and directed by Dr. Randazzo. Dr. Hume’s role

was merely administrative, so as to allow for an outside provider to be paid

for by the VA system.10 The continuous treatment doctrine only allows a

plaintiff to refrain from “challenging the quality of care being rendered until

the confidential relationship [between the doctor and patient] terminates.”

Otto v. Nat’l Inst. of Health, 815 F.2d 985, 988 (4th Cir. 1987). Here, that

relationship between Dr. Hume and Ms. Vickers ended when Dr. Randazzo

took control of Ms. Vickers’ treatment.

      In their “rebuttal” post-trial brief, the Plaintiffs assert that the statute of

limitations was tolled for the period after August 30, 2017 because Ms.

Vickers “was legally mentally disabled and incompetent,” citing N.C. Gen.



10 Indeed, Dr. Henry S. Friedman—one of the Plaintiffs’ own witnesses—who is a doctor

at Duke where Ms. Vickers was treated for the tumor, specifically testified that Dr. Hume’s
direction of Ms. Vickers’s treatment ceased once Ms. Vickers was admitted at Duke.
                                            9



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Stat. § 35A-1101(7). [Doc. 204 at 3 n.3]. The Court finds that the Plaintiffs

have failed to prove any disability or incompetence on the part of the

Decedent. The Plaintiffs have presented no evidence of an adjudication of

incompetence, nor did the Plaintiffs present any expert testimony on this

point. The medical evidence certainly does not show any such disability or

incompetence such that the statute of limitations would be tolled. For these

reasons, the Court finds and concludes that the Plaintiffs’ medical

malpractice claims and wrongful death claims stemming for such alleged

medical malpractice are barred by the statute of limitations.

      While the Court has concluded that these claims are time-barred, in

light of the sheer volume of the record and its maddening disorganization,

the Court will nonetheless proceed to address the merits of the Plaintiffs’

claims in the interest of assisting those who may hereafter need to review

this record. The medical evidence and the proof regarding the interactions

between the Decedent and the VA are largely undisputed. This evidence,

however, was presented at trial in an exasperatingly jumbled manner.

Particularly, there was no attempt to give a chronological account of this

history.   The Court, therefore, endeavors to find the following facts,

recounting them chronologically.


                                     10



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                      B.    Vickers’s Medical History

      Ms. Vickers served in the United States Navy from 1952 to 1953. [Pl.

Ex. 5 at 1]. While serving in the Navy as an 18-year-old, she was sexually

assaulted by two female officers, including her commanding officer. This so

traumatized her as to affect her for the rest of her life. [Day 1 Tr., Doc. 196

at 62]. Ms. Vickers was ultimately diagnosed with posttraumatic stress

disorder (“PTSD”). In 1995, because of the service-related nature of her

trauma, she was awarded 100% service-related disability compensation by

the VA. [Def. Ex. 97 at 2; Day 1 Tr., Doc. 196 at 61-62].

      After living a somewhat bohemian lifestyle and bearing four children

(including the Plaintiff Rupa V. Russe), Ms. Vickers began experiencing a

serious decline in her health in her mid-50’s. In addition to PTSD, she

suffered from numerous medical ailments, including fibromyalgia, diabetes,

and urinary incontinence. [See Pl. Ex. 3B (Decedent’s “problem list” at

Charles George VAMC)]. As a result, until her death in 2018 she frequently

sought medical care at various VA medical centers, including facilities in

Baltimore, Maryland (“Maryland VAMC”); Washington, D.C. (“WDC VAMC”);

Martinsburg, West Virginia (“WVA VAMC”); Salem, Virginia (“Salem VAMC”);

Asheville, North Carolina (“Charles George VAMC”); and Durham, North


                                      11



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Carolina (“Durham VAMC).11 [Id. at 137; Def. Exs. 95-97]. The following is

a summary of the medical treatment she received at these VA facilities.

       In 1997, Ms. Vickers reported to a doctor at the WVA VAMC that she

had “pain all over,” including “pain in the occipital area of her skull for 45

years.” [Def. Ex. 95 at 1]. She reported to that doctor that her pain caused

difficulty walking. [Id.]. During that appointment she also reported insomnia

and fatigue. [Id.]. In 1999, in an appointment with a provider at the Maryland

VA, Ms. Vickers reported experiencing debilitating anxiety, including plucking

out her eyebrows, and suffering from flashbacks and hallucinations related

to her PTSD. [Def. Ex. 100 at 1-2].

       In May of 2001, Ms. Vickers underwent a neuropsychological

evaluation at the Maryland VAMC after she reported concerns of declining

memory and a family history of Alzheimer’s disease.                     [Def. 97 at 1].

However, that evaluation revealed that her cognitive function was normal

and not consistent with Alzheimer’s disease.               [Id. at 5]. The Maryland


11 Thousands of pages of Ms. Vickers’s medical records were admitted into evidence in

this case. However, there are some entries in the records about which no testimony was
solicited. For example, the evidence in this case includes reports of a vascular consult for
problems Ms. Vickers had with her feet in 2007, [Pl. Ex. 103 at 1]; reports of a sore Ms.
Vickers had on her leg in 2007, [Pl. Ex. 95 at 5]; and the fact that Ms. Vickers canceled a
dermatology appointment in 2001, [Pl. Ex. 100 at 4]. Even for those records about which
a witness testified, the relevance of many records is often unclear. Nevertheless, the
Court will make findings of fact related to Ms. Vickers’s various interactions with the VA
system that the Plaintiffs highlighted during the course of this trial.
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provider concluded that “[i]t is likely that Ms. Vickers’ psychiatric problems

(e.g. somatic complaints, mild depression, and PTSD) are contributing to her

perceived cognitive problems.” [Id.]. At that same appointment, she reported

that she had been experiencing urinary and fecal incontinence for “several

months,” and the provider recommended a urodynamic study; however, Ms.

Vickers “refuse[d] to schedule the test.” [Id. at 1].

      In November 2001, in an appointment with a provider at the WDC

VAMC, Ms. Vickers complained that she had experienced urinary

incontinence for approximately two years. [Def. Ex. 65 at 1]. That provider

opined that Ms. Vickers was dealing with stress incontinence.12 [Id.]. In

January 2002, Ms. Vickers presented to the WDC VAMC complaining of a

“new predominant right sided headache.” [Day 1 Tr., Doc. 196 at 64; Pl. Ex.

11 at 25-26]. A subsequent CT exam revealed “[m]inimal cortical atrophy”

and was “otherwise normal.” [Pl. Ex. 11 at 25-26].

      Significant to the Plaintiffs’ claims is an MRI of Ms. Vickers’s brain

performed at the WDC VAMC in April 2003 after she complained of

“worsening cognition.” [Pl. Ex. 11 at 17]. The results of that study indicated



12 “Stress urinary incontinence is the sudden, involuntary loss of urine secondary to
increased intraabdominal pressure that is affecting the patient’s quality of life.”
https://www.ncbi.nlm.nih.gov/books/NBK539769/ (last accessed June 3, 2024).
                                          13



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“left inferior frontal periventricular white matter T2 hyperintensity, which is

non-specific but likely reflects a region of chronic ischemia or gliosis. . . .

There is no evidence of an intracranial mass, hemorrhage or acute infarction.

No hydrocephalus is present.” [Id. at 18] (emphasis added).

       In October 2003, a follow-up MRI was performed after Ms. Vickers

experienced an episode of left facial numbness and pain. [Id. at 14]. That

study indicated normal results with the exception of “an area of abnormal

signal intensity in the left inferior frontal white matter most likely representing

post traumatic encephalomalacia.”13 [Id. at 15]. No further scans were

ordered of Ms. Vickers’s brain while she was under the care of the WDC

VAMC. [Friedman De Bene Tr. at 53; Def. Ex. 98 at 1].

       In October 2004, Ms. Vickers was scheduled for a pubovaginal sling

procedure at the WDC VAMC to treat stress incontinence. [Day 3 Tr., Doc.

198 at 140; Def. Ex. 68 at 1]. The pubovaginal sling procedure has a 90%

improvement or cure rate for stress incontinence. [Day 3 Tr., Doc. 198 at




13 As is explained infra, a later review of the images taken of Ms. Vickers’s brain in 2002

and 2003 show the beginnings of the brain tumor. [Bailes De Bene Tr. at 23]. However,
such images were not available to the doctors at the Charles George VAMC. Rather,
only the reports of such images were, and those reports gave no indication of a mass
such as a brain tumor possibly forming.
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126]. However, Ms. Vickers canceled that surgery after refusing a pre-op

examination from a physician’s assistant. [Def. Ex. 68 at 1].

      In 2006, Ms. Vickers moved to Asheville, North Carolina, to be closer

to her granddaughters, Ms. Russe’s children. [Day 1 Tr., Doc. 196 at 140].

Ms. Vickers established care at the Charles George VAMC, and, on

December 12, 2006, she had her first appointment with Dr. Sarala Rajkumar,

who would become her primary care provider until 2008. [Id. at 140-41, 143;

Pl. Ex. 220 at 1].

      On March 26, 2007, Ms. Vickers reported to Dr. Rajkumar that she was

“very stressed out” because of ongoing fights with her daughter, Ms. Russe.

[Pl. Ex. 98 at 2]. She also reported being angry at Ms. Russe’s therapist.

[Id.]. The next day, Ms. Vickers reported that she had exhibited verbally

abusive behaviors, such as threatening, screaming at, or cursing at others in

the previous seven days. [Pl. Ex. 94 at 2; Pl. Ex. 97 at 4].

      In May 2007, Ms. Vickers reported to the Charles George VAMC that

she was using four pads a day to manage her urinary incontinence. [Pl. Ex.

103 at 5]. In December 2007, Ms. Vickers had “concerning” blood glucose

levels but was not yet prescribed insulin. [Pl. Ex. 95 at 2; Day 2 Tr., Doc.

197 at 271].         The record from her December 2007 blood glucose

appointment notes that she was “often forgetful.” [Pl. Ex. 95 at 3].
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      In January 2008, Ms. Vickers reported that she was using four

underwear liners and four large pads a day to manage her urinary

incontinence. [Pl. Ex. 221 at 8-9]. Ms. Vickers was also prescribed a

medication to treat a UTI at that time. [Id.; Bondar De Bene Tr. at 59].

      In July 2008, Ms. Vickers underwent a urodynamic study.14 [Pl. Ex.

184 at 1]. The summary of the results of that assessment in Ms. Vickers’s

medical records reads: “genuine stress incontinence” and “overactive

bladder (detrusor instability).” [Id. at 2]. A month later, a Charles George

VAMC nutritionist, Nancy Kukla, noted in Ms. Vickers’s records that Ms.

Vickers seemed unable “to retain any kind of technical nutritional

information.” [Pl. Ex. 92 at 2].

      In January 2009, Ms. Vickers reported that during the past six weeks

she had not taken the medication she had been prescribed for urinary

incontinence. [Pl. Ex. 228 at 6]. In September 2009, Ms. Vickers expressed

an interest in having surgery to treat her urinary incontinence, but no such

surgery ever occurred. [Pl. Ex. 189 at 6; Yun De Bene Tr. at 22]. A month

later, Ms. Vickers reported worsening incontinence, using between four and


14 Dr. Linda Masters, who briefly served as Ms. Vickers’s primary care provider after Dr.

Rajkumar left the Charles George VAMC, referred Ms. Vickers for the study. [Pl. Ex. 184
at 3].

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eight pads daily to manage her symptoms. [Pl. Ex. 189 at 1]. The Charles

George VAMC urologist to whom she reported her symptoms assessed her

incontinence as “predominantly urge”15 and noted that “[o]besity and limited

mobility certainly are exacerbating factors. Weight loss would probably help

her to some extent.” [Id. at 4]. Later in 2009, Ms. Vickers moved to Virginia

and stopped receiving her primary care at the Charles George VAMC. [Day

1 Tr., Doc. 196 at 143].

       Ms. Vickers moved back to the Asheville area in 2012. [Id. at 147-48].

Ms. Vickers subsequently visited the Charles George VAMC to reestablish

care. [Pl. Ex. 223 at 1]. At that time, Dr. Lara Hume became Ms. Vickers’s

primary care provider. [Day 1 Tr., Doc. 196 at 149; Pl. Ex. 180].

       In July 2013, Ms. Vickers presented to Dr. Hume complaining of an

unexplained fifteen-pound weight loss over the past two to three weeks. [Pl

Ex. 224 at 4]. At this appointment she also reported using five incontinence

liners a day, four pads, and three under pads to manage her incontinence

symptoms. [Id. at 7]. The section of the record from that appointment



15 “Urge incontinence is a type of urinary incontinence in adults that involves sudden

compelling urges to void and results in involuntary leakage of urine. . . . Patients with urge
incontinence typically complain of a sudden compelling urge to void that is difficult to hold
and      that     often    results       in     involuntary     leakage         of      urine.”
https://www.ncbi.nlm.nih.gov/books/NBK563172/ (last accessed June 3, 2024).

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summarizing past medical history also states a “possible [history of] stroke”

with “no residual deficit.” [Id. at 6]. In September 2013, Dr. Hume requested

that the VA provide Ms. Vickers with a four-wheel scooter to assist her in

getting around because she was experiencing muscle weakness. [Pl. Ex.

151 at 1-2].

      In January 2014, Ms. Vickers saw Dr. Alan Friedman,16 a urologist at

the Charles George VAMC, regarding her ongoing urinary incontinence. [Pl.

Ex. 202 at 1; Yun De Bene Tr. at 26]. At this point, Ms. Vickers was reporting

that she was “soak[ing] pads all day and all night.” [Pl. Ex. 202 at 1]. Dr.

Friedman performed a cystoscopy and concluded that Ms. Vickers’s

incontinence was an urge-type incontinence. [Pl. Ex. 202 at 3; Yun De Bene

Tr. at 26].    Dr. Friedman continued Ms. Vickers on Vesicare, a urinary

incontinence medication that she had been prescribed since 2012. [Yun De

Bene Tr. at 26-27].

      In May 2014, Ms. Vickers again visited Dr. Friedman for an evaluation

of her urinary tract infections. [Pl. Ex. 186 at 1]. While Ms. Vickers had

frequent bacterial overgrowth, she reported that she was not experiencing



16 Dr. Alan Friedman has no relation to Dr. Henry S. Friedman, the Plaintiff’s neuro-

oncology expert.

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symptoms of infection. [Id.]. Dr. Friedman concluded that, because Ms.

Vickers was asymptomatic, it was not necessary to treat the bacterial

colonization at that time. [Id. at 5]. Dr. Friedman then discharged Ms.

Vickers from his care. [Id.]. Between 2014 and 2017, Ms. Vickers did not

see another urologist. [Yun De Bene Tr. at 30].

         Prior to being discharged by Dr. Friedman, in February 2014, Ms.

Vickers had an appointment with Dr. Hume because she was experiencing

increased lethargy. [Pl. Ex. 154 at 1]. In June 2014, Ms. Vickers expressed

her “sorrows and frustrations with recent home and family events” to a

Charles George VAMC provider and noted that Dr. Hume had suggested in

February that she speak to a mental health provider. [Pl. Ex. 148 at 13].

While she was not ready to speak to a mental health provider in February,

by June she expressed a readiness to proceed with a mental health consult.

[Id.].

         On July 1, 2014, Ms. Vickers underwent a mental health consult with

Dr. Angela Steep Capozzi, a clinical psychologist at the Charles George

VAMC.17 [Id. at 8; Day 2 Tr., Doc. 197 at 49]. Dr. Capozzi listened to Ms.



17Dr. Capozzi is sometimes referred to in the medical record as “Dr. Steep”; for
consistency, the Court will refer to her simply as Dr. Capozzi.

                                      19



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Vickers recount various stressors in her life, including her house burning

down, her son’s incarceration and subsequent institutionalization, and the

death of one of her daughters. [Pl Ex. 148 at 8]. During that consult, Dr.

Capozzi did not perform a “brief cognitive screener,” a screener that she

would only have performed had she felt that the patient had a possible

cognitive impairment based on her interactions with the patient or the

patient’s medical record.18 [Day 2 Tr., Doc. 197 at 97]. Because Ms. Vickers

was ambivalent about what mental health services, if any, she desired at that

time, Dr. Capozzi provided education on suicide warning signs and the crisis

hotline and gave Ms. Vickers her contact information. [Pl. Ex. 148 at 12].

      On July 11, 2014, Ms. Vickers reported to a Charles George VAMC

provider that she had experienced lethargy and dizziness the previous day

after being scratched by her cat and applying witch hazel to the scratched

area. [Id. at 1]. However, by the time she presented to the Charles George

VAMC, the lethargy and dizziness had subsided. [Id.].




18 Dr. Capozzi was asked about whether she performed a brief cognitive screener while

being questioned about Defendant’s Exhibit 83. [Day 2 Tr., Doc. 197 at 95-97].
Defendant’s Exhibit 83 is identical to pages 8-12 of Plaintiffs’ Exhibit 148. The Bates
numbers for Defendant’s 83/Pages 8-12 of Plaintiffs’ 148 are VA_00003287 through
VA_00003291.

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      In August 2014, Dr. Hume referred Ms. Vickers for a mammogram

because she had unintentionally lost thirty-five pounds in the past two years.

[Pl. Ex. 115 at 1; Day 2 Tr., Doc. 197 at 198]. Dr. Hume also ordered CT

scans of her chest, abdomen, and pelvis. [Day 2 Tr., Doc. 197 at 199]. While

the results of the CT scans were “not normal,”19 Dr. Hume found that they

did not clearly explain a case for weight loss. [Id. at 199-200].

      In January 2015, Ms. Vickers again saw Dr. Capozzi (via a telephone

appointment) regarding various stressors in her life. [Id. at 5]. She reported

that although she had not been sure whether she wanted to engage in mental

health services at her consult the previous July, she was “now ready to

engage to better understand her interpersonal relationships and lack of trust

with family members.” [Id. at 5-6]. Ms. Vickers agreed to a referral with the

mental health clinic at the Charles George VAMC. [Id. at 6]. She was seen

once at the mental health clinic on June 22, 2015, but declined further

treatment after that. [Pl. Ex. 129 at 13; Day 2 Tr., Doc. 197 at 64].

      On April 21, 2015, Ms. Vickers called the Charles George VAMC to

request a neurological consultation, stating that she was “having issues



19 Dr. Hume did not explain during her testimony what was “not normal” about the CT

scan results. The record from the scan indicates the presence of gallstones and some
degenerative change in the spine but is otherwise unremarkable. [Pl. Ex. 150 at 2].
                                           21



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walking and standing up straight” and that she “[b]elieve[d] the mold in her

house ha[d] gotten worse and [wa]s affecting her.” [Def. Ex. 24 at 2]. On

April 23, 2015, Ms. Vickers called again regarding mold and stiffness, stating

that she had “googled mold and it said it could cause neuro problems and

she would like to be tested to see if she has nerve damage.” [Id. at 1]. Dr.

Hume concluded that Ms. Vickers’s issues with stiffness and walking were

more likely to be related to her osteoarthritis than mold exposure and that

testing for nerve damage from mold was not necessary based on her

complaints. [Id. at 1-2; Day 2 Tr., Doc. 197 at 211-13].

     In October 2015, Ms. Vickers reported to the Charles George VAMC

that she was having difficulty with her short-term memory. [Pl. Ex. 227 at 4].

For example, when she wanted to look something up using a search engine

she would have forgotten what she wanted to look up by the time she turned

on the computer. [Id.]. It was unclear to Dr. Hume whether such concerns

were an actual memory impairment or an impaired ability to concentrate due

to attention deficit disorder. [Day 2 Tr., Doc. 197 at 246]. In December 2015,

Ms. Vickers visited the Charles George VAMC for diabetes management and

got lost on her way. [Pl. Ex. 118 at 2]. The note in her medical record from

the December appointment reads: “She was confused about the location of

this clinic.” [Id.]. At this appointment, the Charles George VAMC provider
                                     22



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“[s]trongly recommended insulin initiation,” but Ms. Vickers declined. [Id. at

4].

        In March 2016, the Charles George VAMC arranged for a VA vendor

to install a stair lift at Ms. Vickers’s home. [Pl. Ex. 199 at 4]. The vendor was

unable to install the lift as scheduled, however, because Ms. Vickers and Ms.

Russe got into a verbal altercation after the vendors arrived to perform the

installation. [Id.]. The vendor reported to the Charles George VAMC that

they “would not return to complete the job until the situation was safe.” [Id.].

        Kay Holtzinger, a licensed clinical social worker at the Charles George

VAMC, called Ms. Vickers to follow up after the installation attempt. [Id.].

Ms. Vickers explained that her daughter, Ms. Russe, had been having a

“difficult time” and dealing with “emotional outburst[s]” after being in a car

accident. [Id. at 4-5]. Ms. Vickers informed Ms. Holtzinger that she would

contact the Charles George VAMC the following week once Ms. Russe had

returned to Durham where she was in law school at the time. [Id. at 5]. Ms.

Vickers did call Ms. Holtzinger back as requested once Ms. Russe was no

longer staying in the home. [Holtzinger De Bene Tr. at 133; Def. Ex. 77; Pl.

Ex. 199 at 4-5]. Eventually, the stair glide was installed. [Day 1 Tr., Doc. 196,

at 116].


                                       23



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      In May 2016, Ms. Vickers had a diabetes education consultation with

Ms. Kukla. [Pl. Ex. 129 at 5]. A note in Ms. Vickers’s medical record

summarizing that consult reads: “Vet does not seem able to take care of

herself?” Ms. Holtzinger reviewed Ms. Vickers’s chart after the consult and

added a note to Ms. Vickers’s medical record that reads: “[V]eteran appears

to have decision making capacity and she does not have cognitive

impairment listed on her problem list. . . . If cognitive impairment is leading

to ‘non-compliance,’ please refer to mental health for cognitive screening.”

[Id. at 8]. Ms. Holtzinger’s note was directed to Ms. Kukla, who was to

evaluate whether a referral for a mental health consultation was appropriate.

[Holtzinger De Bene Tr. at 57].

      On June 21, 2016, Ms. Vickers had another appointment at the Charles

George VAMC regarding the management of her diabetes. [Pl. Ex. 91 at 2].

Although she had apparently agreed to start administering insulin at her last

diabetes-management appointment,20 at the June appointment she reported

that she “[d]id not start insulin as did not want to, changed her mind.” [Id. at




20 The appointment at which she agreed to start administering insulin appears to have

occurred between her December 2015 appointment and the June 2016 appointment;
however, the record of that appointment was not introduced into evidence and that
appointment is therefore only memorialized in the June 2016 summary of the “plan from
last visit.”
                                          24



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1-2]. Ms. Russe attended the June diabetes-management appointment as

well and expressed that she was “concerned” about Ms. Vickers initiating

insulin because she was “afraid of [an] overdose” and felt that “dietary

changes alone” could improve Ms. Vickers’s condition. [Id. at 2]. The

summary of the “plan” from that visit reads: “If A1C remaining above goal at

next visit then willing to start basal insulin.” [Id. at 4]. On the same day, Ms.

Vickers had another diabetes education consultation with Ms. Kukla. [Pl. Ex.

129 at 8]. Ms. Russe attended that appointment with Ms. Vickers and

“expressed concerns for her mother’s cognition and self-care.” [Id. at 9]. Ms.

Kukla informed Ms. Russe that she would need to speak with Ms. Vickers’s

primary care provider, Dr. Hume, regarding her concerns. [Day 1 Tr., Doc.

196 at 117-18]. Ms. Kukla’s reference to Dr. Hume was the “first time [Ms.

Russe] had ever heard the name Dr. Hume before” because her mother

“didn’t share the names of her providers at that time in our relationship.”21

[Id. at 118].

      After learning from Ms. Kukla that Dr. Hume was the provider to whom

Ms. Russe should address concerns regarding her mother’s mental health,



21 This indicates how limited the communication was between Ms. Vickers and Ms. Russe,

as Dr. Hume had been Ms. Vickers’s primary care physician for four years at that point.

                                          25



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Ms. Russe and Ms. Vickers went to the Charles George VAMC women’s

health clinic and Ms. Russe requested to speak with Dr. Hume.22 [Id.; Pl. Ex.

90 at 1-2]. Dr. Hume was unavailable, so Ms. Russe left a phone number at

which she could be reached. [Day 1 Tr., Doc. 196 at 120-21]. Ms. Vickers

informed a nurse in the clinic, Connie Leake, that she would like Dr. Hume

to be able to speak with Ms. Russe, and Ms. Leake informed the two that

she did not have the authority to add Ms. Russe as a healthcare contact in

Ms. Vickers’s administrative record. [Id. at 121; Pl. Ex. 90 at 2]. Ms. Leake

informed Ms. Russe that Ms. Holtzinger could update Ms. Vickers’s

healthcare contact information and gave Ms. Russe the contact information

for Ms. Holtzinger. [Day 1 Tr., Doc. 196 at 121]. Ms. Russe also informed

Ms. Leake that Ms. Vickers would sometimes “tell [mental health] staff she

is ‘ok’ when she is in fact she is [sic] feeling a bit overwhelmed or down and

depressed.” [Pl. Ex. 90 at 2].

      On September 7, 2016, Ms. Vickers had another appointment with Ms.

Kukla regarding diabetes education.              [Pl. Ex. 129 at 13].         Ms. Kukla




22 The medical record memorializing Ms. Russe’s actions following the June diabetes

consultation indicates that this visit to the women’s health clinic took place on June 22,
2016. [Pl. Ex. 90 at 1]. However, in her testimony, Ms. Russe indicated that she
immediately went to the clinic following the consultation, indicating that it took place on
June 21, 2016. [Day 1 Tr., Doc. 196 at 118].
                                              26



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concluded at that meeting that Ms. Vickers was “habitually non-compliant” in

the management of her diabetes. [Id.]. Ms. Kukla also made a note in Ms.

Vickers’s medical record regarding whether a cognitive impairment was

leading to the noncompliance, stating: “On 5/10/16 note, [licensed clinical

social worker] felt vet does not have cognitive impairment. However, vet

appears to have some kind of mental health issues impeding her progress

with her blood glucose management.” [Id.]. In an addendum to that note,

Ms. Holtzinger alerted Dr. Capozzi to Ms. Vickers’s mental health issues.

[Id.]. Dr. Capozzi responded to that alert, stating that Ms. Vickers had been

seen once in the mental health clinic and declined further treatment and that

Ms. Vickers’s “readiness/desire to engage” in mental health treatment had

been an “issue in the past.” [Id.].

      Also on September 7, 2016, after her appointment with Ms. Kukla, Ms.

Vickers had another appointment regarding diabetes management. [Pl Ex.

179 at 1]. At that appointment, Ms. Vickers said she was “agreeable to start

basal insulin today” but the provider noted that she “has agreed before.” [Id.

at 4]. Ms. Vickers was also provided with an “insulin teaching” because she

“d[id] not recall previous teaching.” [Id.].

      On November 29, 2016, Ms. Russe called the Charles George VAMC

with concerns that her mother could not “handle living independently
                                        27



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anymore.” [Day 1 Tr., Doc. 196 at 181]. Ms. Holtzinger then called Ms.

Vickers regarding Ms. Russe’s concerns. [Pl. Ex. 233 at 2]. Ms. Holtzinger

testified that she contacted Ms. Vickers directly “[d]ue to [a] history of

strained relationship” with Ms. Russe. [Id.]. Ms. Vickers told Ms. Holtzinger

that her “daughter thinks I’m going to keel over and die” but that she was still

living independently and did not want to pursue a placement in a nursing

home at that time. [Id.].

      On March 2, 2017, Dr. Hume performed an annual examination of Ms.

Vickers and increased her insulin dosage.         [Pl. Ex. 226 at 1].    At that

appointment, Ms. Vickers again expressed that she was not ready to stop

living independently. [Id. at 2]. Dr. Hume noted that Ms. Vickers’s “unkempt

state,” “uriniferous scent,” and “stained, holey state of clothing” were

concerning and suggested a social work or mental health consultation to

consider alternative living options. [Id.]. Ms. Vickers was willing to “consider”

such services but did not want to proceed with assistance at the time of the

appointment. [Id.]. Four days later, Ms. Vickers called the Charles George

VAMC and reported that she was “out of it” since taking her new dosage of

insulin. [Pl. Ex. 179 at 5]. She also reported that she was not checking her

blood glucose and had been on a “sugar spree,” which likely explained her

mental state. [Id.].
                                       28



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      On May 17, 2017, Ms. Russe spoke with a Charles George VAMC

provider and expressed concern about Ms. Vickers’s mental health. [Id.].

Ms. Russe informed the provider that her mother was depressed and would

be willing to take an antidepressant. [Id.]. Ms. Russe wanted these concerns

addressed at her mother’s upcoming appointment. [Id.]. On May 19, 2017,

Ms. Vickers had an appointment with the Charles George VAMC, where she

expressed her feelings of depression and noted that she was having trouble

speaking. [Pl. Ex. 113 at 1-3]. Dr. Capozzi then performed a mental health

screener on Ms. Vickers and suggested that she request an appointment

with someone in the mental health clinic who could evaluate her for an

antidepressant prescription. [Pl. Ex. 133 at 2, 4].

      On July 3, 2017, Ms. Vickers had a call with Dr. Hume during which

Ms. Vickers was “confused regarding several issues” and “thought [Dr.

Hume] was Dr. Song23 for much of the conversation until [Dr. Hume]

expressed concern regarding her memory at which point [Ms. Vickers]

attribute[d] this to having a lot going on.” [Def. Ex. 19 at 2]. Based on Ms.

Vickers’s confusion, Dr. Hume noted that she suspected a mild cognitive

impairment. [Id.]. Dr. Hume’s notes from that call also include her plan to


23 It is unclear who Ms. Vickers thought Dr. Song was, as no such provider appears in the

medical records in this case.
                                           29



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contact Ms. Russe to discuss Ms. Russe having “more involvement [with] her

Mother’s healthcare.” [Id.]. On July 11, 2017, Dr. Hume followed up with

Ms. Vickers, asking if she would be willing to have an MRI scan performed

based on Dr. Hume’s concerns about Ms. Vickers’s cognition. [Def. Ex. 18

at 1]. In that follow up, Dr. Hume also noted that she had been expecting a

call from Ms. Russe on July 5 but had not heard from her. [Id.]. Ms. Vickers

agreed to have an MRI, and on July 16, 2017, the MRI was ordered. [Day 2

Tr., Doc. 197 at 221]. However, that MRI did not take place as scheduled

because, on July 21, Ms. Vickers presented to the VA emergency room after

experiencing severe illness and vomiting. [Id.; Pl. Ex. 29 at 5]. The VA

emergency room identified a “brain abnormality of significance,” and, on July

22, 2017, Ms. Vickers was transferred from the Charles George VAMC to

Mission Hospital in Asheville for further evaluation. [Day 2 Tr., Doc. 197 at

169; Def. Ex. 10 at 1].

      On July 27, 2017, providers at Mission Hospital biopsied the

“abnormality” in Ms. Vickers’s brain. [Def. Ex. 10 at 1]. That biopsy revealed

that the abnormality was a large, unresectable, left frontal low-grade glioma.

[Id. at 1, 6]. On July 30, 2017, Ms. Vickers had a consultation with Dr.

Praveen Vashist in the oncology department at Mission Hospital. [Id. at 1].

Dr. Vashist reviewed treatment options with Ms. Vickers and Ms. Russe and
                                     30



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noted that surgery was ruled out but that Ms. Vickers would be a candidate

for radiation therapy. [Id. at 6]. Dr. Vashist encouraged Ms. Vickers to move

in with Ms. Russe in Durham and establish care with Duke University Medical

Center’s neuro-oncology clinic. [Id. at 6-7].

      Ms. Vickers was discharged from Mission Hospital and moved into

Rose Manor, a community nursing home in Durham, North Carolina. [Day 1

Tr., Doc. 196 at 217]. On August 2, 2017, Ms. Vickers executed a durable

general power of attorney, a healthcare power of attorney, and an

authorization for use and disclosure of protected health information. [Pl. Ex.

251 at 1-20]. Ms. Russe was designated as Ms. Vickers’s general agent and

given the power to make decisions regarding Ms. Vickers’s health care

“when and if” her attending physician “determines that [she] lack[s] capacity

to make or communicate decisions relating to [her] health care.” [Id. at 12-

13]. Ms. Russe was also designated as a person to whom Ms. Vickers’s

protected health information could be disclosed “when and if any licensed

physician has determined that [Ms. Vickers] lack[s] capacity to make or

communicate decisions relating to [her] health care.” [Id. at 19]. On August

14, 2017, the Charles George VAMC approved a neuro-oncologist

consultation at Duke to evaluate and treat Ms. Vickers’s glioma. [Pl. Ex. 30

at 2]. A comment on the record of that approval indicates Ms. Vickers was
                                      31



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eligible for care at Duke because there was a “lack of required specialist care

at this facility.” [Id.].

       On August 23, 2017, Ms. Vickers had her initial consultation with Duke.

[Def. Ex. 29 at 10]. Upon review of the biopsy performed at Mission Hospital,

the Duke medical team diagnosed Ms. Vickers with a grade II

oligodendroglioma.          [Id. at 13, 17].     The notes of the “plan” from that

consultation read in part: “We discussed the role of the Duke team in relation

to the local primary team; we will serve as a consulting service in care and

will work collaboratively with local physicians. All chemotherapy will be

managed by the local team. They are in agreement with this arrangement

and verbalized understanding.”24               [Id. at 19].    An addendum to the

consultation notes reads: “MRI repeated on 8/29/17 shows stable disease

compared to 7/27/17 with no new enhancement. Given stable disease and

pathology returning as oligodendroglioma (WHO gr II), we recommend daily

temodar 50mg/m2 PO which will be ordered to Duke CC pharmacy. She will

have CBC/CMP every two weeks and will return at 1 month for treatment

evaluation and 2 months for MRI evaluation.” [Id.].



24 As addressed previously, the Court finds that this entry was necessary for Ms. Vickers’s

coverage through the VA to apply to her treatment at Duke. The medical records are
clear that all treatment decisions were made by Dr. Dina Randazzo at Duke.
                                           32



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      Dr. Dina Randazzo was the attending at this consultation and became

Ms. Vickers’s neuro-oncologist, overseeing her treatment at Duke. [Id. at 19;

Friedman De Bene Tr. at 126-27]. At the time of the Duke consultation Ms.

Vickers was still living at Rose Manor; however, she subsequently left Rose

Manor and moved in with Ms. Russe in Durham. [Id. at 13; Day 1 Tr., Doc.

196 at 217]. Ms. Russe became her mother’s primary caregiver at that time.25

[Day 1 Tr., Doc. 196 at 89].

      On August 28, 2017, Ms. Russe sent Dr. Hume a message via her

mother’s secure messaging portal for the Charles George VAMC expressing

her frustration that, in her opinion, her concerns that her mother’s declining

cognitive function had been ignored. [Day 1 Tr., Doc. 196 at 183-84; Def.

Ex. 41 at 145]. Specifically, Ms. Russe wrote as follows:

             Even though consistently the conversation was
             about her mental health function, the fact that [the
             licensed clinical social worker] did not think cognitive
             function was impaired was apparently why no one
             thought to check her for a brain problem. However,
             cognitive function HAD to have been diminishing as
             evidenced by her urine-soaked lifestyle. The Duke

25 Ms. Russe testified at length about the emotional distress she endured upon becoming

her mother’s primary caregiver. For example, Ms. Russe described experiencing heart
palpitations, shortness of breath, anxiety, and insomnia. [Day 1 Tr., Doc. 196 at 90].
However, as explained infra, the Court concludes that Ms. Russe’s claims that her
emotional distress is attributable to any actions of Dr. Hume or the Charles George VAMC
are frivolous and without merit. Accordingly, the Court will not delve further into the
evidence at trial related to the physical manifestations of distress that Ms. Russe
experienced.
                                              33



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             neuro-oncologist thinks this likely is a very slow
             growing tumor, 5-10 years’ worth that is now huge
             and spreading from the one side to the other side of
             her frontal lobe. This tumor could explain her
             noncompliance issues, bedwetting/lifestyle issues.
             Odd that no medical professional considered this as
             a possibility. . . . The VA has failed. This situation is
             not supposed to happen.

[Def. Ex. 41 at 145-46].26 Dr. Hume responded the next day expressing her

sadness at Ms. Vickers’s diagnosis. [Id. at 144].

       On August 30, 2017, Ms. Russe sent Dr. Hume a message requesting

help with getting VA approval for Ms. Vickers’s chemotherapy. [Id.].

Specifically, Ms. Russe wrote as follows:

             [C]an you assist with the following. The Duke
             specialty pharmacy that is providing my mom’s
             chemo drug (Temodar?) is saying the VA will not
             cover their dispensing of it and that we will need to
             go thru the VA pharmacy (which we don’t mind doing)
             and that will require a VA doctor (oncologist?)
             providing care for my mom. Your consult is so
             comprehensive, it would seem the latter requirement
             is unnecessary. Do you know if there is anything you
             can do to assist us in staying with Duke for her
             treatment, without needing to also see a VA
             oncologist (as it’d be repetitive) in order to get her
             drugs (which I don’t mind picking up at the Durham
             VA).


26  By this communication, the Court finds that the Plaintiffs were aware of the
circumstances regarding Ms. Vickers’s condition and treatment, and thus the claims that
the Plaintiffs seek to assert in this action had accrued no later than this date.

                                          34



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[Id.].27 Dr. Hume replied giving Ms. Russe a phone number to call to discuss

coverage for care at a non-VA facility. [Id. at 143].

       Also on August 30, 2017, Ms. Russe sent Dr. Hume another message

informing her that Duke’s diagnosis was a stage II oligodendroglioma that

Duke believed had been developing for five to ten years. [Id. at 141]. Ms.

Russe also informed Dr. Hume that Duke believed the tumor would be

“operable with good results if it wasn’t so large” but that Duke “sa[id] [Ms.

Vickers] could live 5 [years] if it responds to chemo.” [Id.]. However, no

medical record was offered into evidence reflecting that any provider at Duke

expressed such an opinion.

       On September 4, 2017, Ms. Russe messaged Dr. Hume again

regarding difficulties obtaining VA approval for Ms. Vickers’s chemotherapy.

[Id. at 139]. Ms. Russe explained that she had learned that “the VA system

will not allow Duke to prescribe [Ms. Vickers] medicines” and that “the

Durham VA will not allow her to have her Chemo prescriptions filled unless

a Durham VA doctor is overseeing them.” [Id.]. Ms. Russe went on to write




27  By this communication, the Court finds that the Plaintiffs acknowledged that Ms.
Vickers’s treatment was being controlled and directed by the physicians at Duke, and not
by Dr. Hume or anyone at the Charles George VAMC. This was even to the extent that
it was Ms. Russe who made the contact facilitating the payment for the chemotherapy
treatments through the VA, rather than anyone at Duke making that contact.
                                           35



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that “[a]pparently [Ms. Vickers] will need to be dual enrolled with [the Charles

George VAMC] and Durham VA.” [Id.]. Ms. Russe stated that Ms. Vickers

did not want to change primary care providers but that “[t]here is a chance

we will have to have an [appointment] with a Durham [primary care provider]

or oncologist (not sure which, or who).” [Id.]. On the same day, Dr. Hume

replied, agreeing that “dual enrollment will be best.” [Id. at 138]. Dr. Hume

also explained that in order for her to continue ordering Ms. Vickers’s

medications she would need at least two weeks’ notice and that, because

she understood that much notice was not always possible “dual enrollment

will be helpful[ ] so a provider there can order medications for window pick-

up with less notice than waiting for them to arrive by mail.” [Id.]. Dr. Hume

explained that, until dual enrollment was accomplished, Ms. Vickers may

need to utilize the Durham VAMC emergency room to order medications.

[Id.]. Once again, the Court finds that these communications demonstrate

that Dr. Hume’s position was no longer as a physician treating Ms. Vickers’s

condition, but had converted to an entirely administrative role to facilitate

Duke’s payment by the VA.

      On September 13, 2017, Ms. Russe brought Ms. Vickers to the

Durham VAMC to “set up a pipeline for the Durham VA to issue the

chemotherapy.” [Day 1 Tr., Doc. 196 at 160-61]. Throughout the rest of
                                      36



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2017, Ms. Vickers received treatment for her brain tumor in Durham. [Id. at

164].    Dr. Randazzo prescribed Ms. Vickers Temodar, a chemotherapy

medication. [Def. Ex. 41 at 141; Pl. Ex. 135 at 3-4; Day 2 Tr. Doc. 197 at

166]. Ms. Russe testified that, while Ms. Vickers was being treated at Duke,

she was “in contact with [Dr. Hume] to coordinate all of [Ms. Vickers’s] care

and medicines being sent to the apartment when she lived with me.” [Day

1 Tr., Doc. 196 at 158].

        In either late 2017 or January 2018, Ms. Vickers had a lumpectomy

and then a mastectomy at the Durham VAMC, having been diagnosed now

with breast cancer.28 [Day 1 Tr., Doc. 196 at 160]. In late 2017, Ms. Vickers

moved out of Ms. Russe’s residence and back into Rose Manor nursing

home. [Id. at 217]. In January 2018, Ms. Vickers moved into Madison Health

and Rehab, a nursing home in western North Carolina. [Id. at 164, 217].

        On February 9, 2018, Ms. Russe sent a message to Dr. Hume

requesting that Dr. Hume submit a referral to a neuro-oncologist

recommended by Dr. Randazzo. [Pl. Ex. 135 at 5]. Ms. Russe wrote to Dr.

Hume that: “[a]s you are still her [primary care provider] and she needs to


28 It is unclear precisely when Ms. Vickers’s breast cancer was discovered. The Durham

VAMC diagnosed the breast cancer when Ms. Vickers was living in Durham, so
presumably such cancer was diagnosed sometime in the fall of 2017. [See Day 2 Tr.,
Doc. 197 at 141].
                                      37



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get in to see a neuro-oncologist so her chemo treatment is not interrupted,

please prepare the appropriate consult.” [Id.]. Dr. Hume submitted the

requested referral on February 10, 2018. [Id. at 6]. On February 12, 2018,

Ms. Russe sent Dr. Hume a message informing her that Madison Health and

Rehab was “running out of [Ms. Vickers’s] meds for chemo.” [Id. at 1-2]. Dr.

Hume replied the same day, saying she would ask a nurse to contact

Madison Health and Rehab as “it appears a 30 day supply was filled 1/26/18

such that she should not run out until 2/23/18 and I don’t think the dose can

be adjusted by the facility since it is a once daily capsule unless there’s

information I’m missing about this situation.” [Id. at 2]. On February 14,

2018, Dr. Hume entered a note in Ms. Vickers’s records requesting that Ms.

Vickers have an appointment with her to “confirm clinical stability” such that

the Charles George VAMC could dispense the chemotherapy pills

prescribed by Dr. Randazzo. [Pl. Ex. 135 at 3-4]. At trial, Dr. Hume clarified

that she did not prescribe the chemotherapy pills. [Day 2 Tr., Doc. 197 at

166]. On February 15, 2018, Ms. Vickers had the requested appointment




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with Dr. Hume, her first appointment with Dr. Hume since her brain tumor

was discovered.29 [Day 1 Tr., Doc. 196 at 165; Pl. Ex. 227 at 2].

       In the beginning of June 2018, Ms. Vickers started to exhibit

“increasingly inappropriate sexual behaviors at Madison Health and Rehab.”

[Pl. Ex. 234 at 1].       Ms. Vickers had an appointment with a psychiatric

consultant at Madison Health and Rehab who felt that Madison Health and

Rehab may not be the safest place for her because of her behaviors. [Id.].

Someone from Madison Health and Rehab contacted the Charles George

VAMC regarding Ms. Vickers’s behaviors and expressed that Madison

Health and Rehab “need[s] to send the veteran to the ER and will probably

not be able to take her back.” [Id. at 2]. On June 25, 2018, Ms. Vickers was

admitted to the Charles George VAMC for a mental health evaluation. [Pl.

Ex. 74 at 1]. At the time of that admission, Madison Health and Rehab

informed the Charles George VAMC that Ms. Vickers was not welcome back

at the facility. [Id.].

       On June 26, 2018, the Charles George VAMC performed a CT scan of

Ms. Vickers’s brain and found that the oligodendroglioma had decreased in


29 This again shows that Dr. Randazzo was the one directing care and that Dr. Hume’s

only role was to facilitate the provision of payment for the medicines that Dr. Randazzo
had prescribed. This is further underscored by the fact that Dr. Hume and the Charles
George VAMC had no role in treating Ms. Vickers’ breast cancer.
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size, indicating that the tumor was responsive to chemotherapy. [Pl. Ex. 15

at 2-3].    On June 29, 2018, Ms. Vickers underwent a mental health

consultation with the Charles George VAMC. [Pl. Ex. 20 at 2]. As a result

of that consultation, Ms. Vickers was prescribed Depakote, a mood stabilizer.

[Id. at 7]. Ms. Vickers remained at the Charles George VAMC following that

consultation while social workers attempted to secure another nursing home

placement. [Day 1 Tr., Doc. 196 at 219].

      Throughout July 2018, Anthony Smalls, a Charles George VAMC

social worker, contacted numerous nursing home facilities attempting to find

a new placement for Ms. Vickers. [Pl. Ex. 248 at 2]. Seven different facilities

rejected Ms. Vickers because of the behaviors she exhibited while at

Madison Health and Rehab. [Id.]. On July 17, 2018, Ms. Russe contacted

Mr. Smalls and asked what information about Ms. Vickers was being

provided to the nursing home facilities at which he was trying to have Ms.

Vickers placed. [Pl. Ex. 242 at 1-2]. Mr. Smalls informed Ms. Russe that,

because of HIPAA,30 he could not share such information without Ms.

Vickers’s consent. [Id. at 2]. Ms. Russe told Mr. Smalls that she had Ms.


30 The Health Insurance Portability and Accountability Act (“HIPAA”) “prohibits covered

entities from ‘knowingly’ disclosing an individual’s ‘individually identifiable health
information’ without authorization.” Wilson v. UnitedHealthcare Ins. Co., 27 F.4th 228,
245 (4th Cir. 228) (citing 42 U.S.C. § 1320d-6(a), (b); 45 C.F.R. § 164.508(a)(1)).
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Vickers’s power of attorney, but Mr. Smalls informed Ms. Russe that,

because Ms. Vickers had the capacity to make her own decisions, the power

of attorney documents did not give Ms. Russe access to Ms. Vickers’s

medical records. [Id.]. On July 23, 2018, Mr. Smalls contacted Pruitt Health

in Raleigh, North Carolina, to ask if it would accept Ms. Vickers. [Pl. Ex. 257

at 1]. Pruitt Health ultimately accepted Ms. Vickers’s placement, and she

lived there until her death three months later. [Day 1 Tr., Doc. 196 at 69-70,

219].

        On October 16, 2018, Ms. Vickers died. [Def. Ex. 40 at 1]. The

immediate cause of death listed on her death certificate is “cardiac arrest,”

and the underlying causes of death listed are “septic shock” and “likely

urinary tract infection.” [Id.]. She was 83 years old.

        At some unspecified point during her care at the Charles George

VAMC, Ms. Vickers received a VA-produced brochure entitled “Primary

Care.” [Day 1 Tr. at 99; Pl. Ex. 10B]. The brochure provides general

information regarding the Charles George VAMC, including hours and

location, a map of the campus, the various services available, guidelines

making appointments, information regarding obtaining medication refills, and

patient rights and responsibilities. [Pl. Ex. 10B]. One section of the brochure

references the “Patient Aligned Care Team,” describing it as follows:
                                      41



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            A Patient Aligned Care Team (PACT) is each
            Veteran working together with health care
            professionals to plan for whole-person care and life-
            long health and wellness. They focus on:

            •    Partnerships with Veterans: A PACT is a
                 partnership between you and your health care
                 team to ensure you receive whole-person care.

            •    Access to care using different methods: Your
                 PACT offers many ways to access health care.

            •    Coordinated care among team members: A
                 PACT achieves coordinated care through
                 partnership of your health care within your team
                 and with the secondary team outside of your
                 primary care system.

            •    Team-based care with Veterans as th[e] center of
                 their PACT: Veterans are the center of the PACT.
                 Your family members and caregivers are part
                 of your PACT. The team also includes your
                 primary care provider, a nurse who serve as your
                 care manager, a clinical associate, and an
                 administrative clerk.

[Id. at 8] (emphasis added). Ms. Russe testified that she believed that by

creating PACTs, the VA was “intentionally encouraging veterans to appoint

family members or friends to serve as members of their PACT team.” [Day

1 Tr. at 102].

      Ms. Russe alleges that the Charles George VAMC “refused to grant

[her mother’s] wish” to make Ms. Russe a part of the PACT. [Day 1 Tr. at


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106-07]. Ms. Russe asserts that VA personnel “intentionally exclud[ed]” her

from the team, despite Ms. Russe’s repeatedly expressed concerns

regarding Ms. Vickers’s declining cognition. [Id. at 107-08]. Ms. Russe

claims that her intentional exclusion from the PACT caused her severe

emotional distress. [Id.].

                     C.      Disputed Medical Evidence

      The Plaintiffs bring this medical malpractice and wrongful death action

based on a theory of a failure to diagnose. In the Complaint, they break this

down into subparts of a failure to evaluate Ms. Vickers and review her

complete medical record, a failure to follow up on testing, and generally the

failure to monitor, treat, and care for Ms. Vickers. [Doc. 1 at ¶ 98].

      As previously noted, Dr. Hume was Ms. Vickers’s primary care

physician at the Charles George VAMC beginning in September 2012. The

Plaintiffs assert that at some point between that date and Ms. Vickers’s brain

tumor diagnosis on August 23, 2017, Dr. Hume should have recognized Ms.

Vickers’s constellation of symptoms as being neurological in nature and thus

should have referred her for a neurological consultation where the brain

tumor would have been discovered when it was still operable. The Plaintiffs

further assert that if Dr. Hume had more fully reviewed Ms. Vickers’s medical


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records from the prior period, this too in the application of the standard of

care would have yielded such a consultation and diagnosis.

       To support these contentions, the Plaintiffs presented three experts:

Dr. Ellen Bondar, a specialist in the field of internal medical and primary care;

Dr. Henry S. Friedman,31 a specialist in the field of neuro-oncology; and Dr.

Edward Yun, a specialist in the field of urology.32 The Defendant countered

with experts Dr. John Spangler, a specialist in the field of primary care and

family medicine; Dr. Julian Bailes, a specialist in the field of neurosurgery;

and Dr. Paul Hatcher, a specialist in the field of urology.




31 As noted supra, Dr. Henry Friedman has no relation to Dr. Alan Friedman, the Charles

George VAMC urologist who treated Ms. Vickers in 2014.
32 The Plaintiffs also presented the testimony of Dr. Hayden Huggins, who was tendered

as an expert in the area of “biological research methodology.” Dr. Huggins holds a Ph.D.
in molecular biology and works for a gene therapy enterprise. He conceded that he does
not work in “a medical field.” His testimony was, in substance, how to apply logic to the
methods of the Government’s life expectancy expert, even though Dr. Huggins has no
education or experience in that field. The Court finds Dr. Huggins’ testimony to be entirely
unhelpful and even inadmissible, as he showed no expertise pertinent to his testimony.
This is best illustrated by the fact that Dr. Huggins critiqued the life expectancy opinion,
but admitted that he was unaware of the mortality tables of N.C. Gen. Stat. § 8-46 or how
they apply in a court proceeding.

The Plaintiffs also tendered Maud Meulstee, a nurse practitioner, as an expert regarding
the ordinary practices of the VA in caring for patient records and its system for referring
patients to specialists. The Court finds this testimony unhelpful and irrelevant to the
issues in this case.
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            1.     Evidence Regarding Dr. Hume’s Compliance
                         with the Standard of Care

      Regarding the standard of care for a primary care physician (PCP) and

whether Dr. Hume breached such standard, the Plaintiffs offered the

testimony of Dr. Bondar. Dr. Bondar, however, last practiced as a primary

care physician in 2011, and that was in New York and New Jersey. She had

no knowledge regarding the standard of care applicable in Asheville, North

Carolina, and had never even been to the state of North Carolina. She only

testified that the applicable standard of care is a “national standard” without

regard to “physician skill and training, facilities, equipment, funding and also

the physical and financial environment of a particular medical community.”

Billings v. Rosenstein, 174 N.C. App. 191, 194, 619 S.E.2d 922, 924-25

(2005).33 Such testimony fails to establish by the greater weight of the


33 North Carolina also requires that a witness giving expert testimony on the appropriate

standard of health care be a licensed health care provider in North Carolina or another
state and must meet the following criteria:

             During the year immediately preceding the date of the
             occurrence that is the basis for the action, the expert witness
             must have devoted a majority of his or her professional time
             to either or both of the following:

             a. The active clinical practice of the same health profession in
             which the party against whom or on whose behalf the
             testimony is offered, and if that party is a specialist, the active
             clinical practice of the same specialty or a similar specialty
             which includes within its specialty the performance of the

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evidence that Dr. Hume breached the standard of care for a primary care

physician, or even what the applicable standard of care was. On this basis

alone, Dr. Bondar’s testimony is irrelevant and will be disregarded.

      Even if Dr. Bondar were able to testify as to the appropriate standard

of care, her testimony fails to show Dr. Hume breached any such duty. While

Dr. Bondar testified that a primary care provider has a “duty to put things


             procedure that is the subject of the complaint and have prior
             experience treating similar patients; or

             b. The instruction of students in an accredited health
             professional school or accredited residency or clinical
             research program in the same health profession in which the
             party against whom or on whose behalf the testimony is
             offered, and if that party is a specialist, an accredited health
             professional school or accredited residency or clinical
             research program in the same specialty.

N.C. R. Evid. 702. Additionally “if the party against whom or on whose behalf the
testimony is offered is a general practitioner, the expert witness, during the year
immediately preceding the date of occurrence that is the basis for the action, must have
devoted a majority of his or her professional time to either or both of the following: (1)
Active clinical practice as a general practitioner; or (2) Instruction of students in an
accredited health professional school or accredited residency or clinical research program
in the general practice of medicine.” Id.

        The Government argues that Rule 702 of the North Carolina Rules of Evidence is
substantive in nature and thus Dr. Bondar’s testimony should be excluded in its entirety.
See Harrington v. S. Health Partners, Inc., No. 1:21CV744, 2023 WL 3393569, at *4
(M.D.N.C. May 11, 2023); Carmely v. United States, No. 3:20-cv-00689-RJC-DCK, 2023
WL 2314873, at *1 (W.D.N.C. Mar. 1, 2023) (applying N.C. Gen. Stat. § 8C-1, Rule 414
as substantive law); see also Sigmon v. State Farm Mut. Auto. Ins. Co., No. 5:17-V-
00225-KDB-DCK, 2019 WL 7940194, at *1 (W.D.N.C. Nov. 14, 2019) (same). The Court
need not decide this issue, as the same reasons that would exclude Dr. Bondar’s
testimony in state court are the reasons that the Court here finds her opinions to be
entirely unpersuasive.

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together and to arrive at a correct diagnosis,” she admitted that she could

not pinpoint when a primary care provider should have referred Ms. Vickers

for a neurological consultation due to the nonspecific and subtle nature of

Ms. Vickers’ symptoms, together with her several diagnosed maladies,

including diabetes and obesity. [Bondar De Bene Tr. at 164, 211-13, 214-

15].

       Indeed, the medical records demonstrate that the vast majority of the

symptoms to which the Plaintiffs point as being indicative of a brain tumor34

are more in the nature of one-off complaints of stress, lethargy, difficulty

moving, and mild confusion. And for virtually all of those complaints, as well

as for Ms. Vickers’s more persistent issues like urinary incontinence, such

symptoms were better explained by one of her numerous known

comorbidities.




34 While the Court has endeavored to provide a comprehensive account of the symptoms

to which the Plaintiffs point as signals of the brain tumor, there were numerous times
during the trial that the Plaintiffs introduced a particular record, had the witness read from
the record, and moved on without doing more to explain the relevance of what the witness
read. Accordingly, it is possible that the Plaintiffs think a record not highlighted here is of
utmost importance to their claim. However, because of the Plaintiffs’ failure to present
their case in a logical, organized manner, further exploration of this theory of breach would
require the Court to engage in pure speculation about what intention the Plaintiffs had
when they introduced each record into evidence. The Court declines to engage in such
an exercise.
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      On the issue of the PCP standard of care, the Government offered the

expert testimony of Dr. John Spangler, who is a primary care physician in

Winston-Salem, North Carolina, and a professor of medicine at Wake Forest

University School of Medicine in the Department of Family Medicine. Dr.

Spangler testified that he is very familiar with the standard of care in North

Carolina, and in the Asheville area particularly, because he trains students

for service in the Asheville community, and because he is aware of the

similarities in the practice of medicine between Asheville and Winston-Salem

where he practices.    Based on the relative familiarity with the relevant

standards, the Court finds Dr. Spangler’s testimony to be much more credible

and useful than that of Dr. Bondar.

      Dr. Spangler testified that Dr. Hume acted in accordance with the

standard of care in her review of the prior medical records of Ms. Vickers.

He opined that a primary care physician cannot be expected to review every

prior medical record of a patient, particularly one with a mountain of records

such as Ms. Vickers. There are certain records that should be reviewed in

accordance with the standard, and Dr. Spangler testified that Dr. Hume

reviewed those.




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      With particular regard to the review of the 2002 and 2003 brain scan

reports35 for Ms. Vickers, Dr. Spangler opined that a primary care physician

would understand those to simply describe an aging brain; that the changes

described there would be normal for anyone over the age of 65. [See Day 4

Tr., Doc. 199 at 29 (“this is an anatomic fact that first-year medical students

learn”)]. Further, these changes are particularly prevalent in patients with

cardiovascular problems and diabetes, such as Ms. Vickers. Thus, even if

the standard of care required Dr. Hume to review the reports from so many

years prior, the review of those records would not have dictated any different

course of treatment by Dr. Hume. For these reasons, the Court finds that

Dr. Hume was not negligent in her review and interpretation of the medical

records of Ms. Vickers.

      The Plaintiffs assert that Ms. Vickers’s history of urinary incontinence

and urinary tract infections, taken along with her history of psychological and

memory issues, should have led Dr. Hume as a primary care physician to

refer Ms. Vickers for a neurological consultation to determine whether a brain



35 The only records available at the Charles George VAMC were the reports, not the scans

themselves, because of the limitations on the VA’s record-keeping systems. Since the
scans were done at the WDC VAMC, the scans themselves could not be transmitted.
Thus, while the reports of the brain scans may have been available to Dr. Hume in Ms.
Vickers’s medical records, apparently the images themselves were not.

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tumor was the root cause of these maladies. Dr. Spangler opined, however,

that these urinary issues were normal for a woman of Ms. Vickers’s age, and

that the psychological issues were matters of long standing and even the

basis of Ms. Vickers’s total service-related disability dating back decades.

Therefore, the Court finds that Dr. Hume did not breach the standard of care

in failing to refer Ms. Vickers for a neurological consultation in view of this

constellation of symptoms.

       For these reasons, the Court finds and concludes that Dr. Hume was

not negligent in her evaluation, monitoring, treatment, follow-up or general

care of Ms. Vickers, or in her review of Ms. Vickers’s medical records.

           2.     Evidence Regarding Dr. Rajkumar’s Compliance
                            with the Standard of Care

       The Plaintiffs also claim that Dr. Rajkumar was similarly negligent in

her treatment of Katherine Vickers in that she failed to adequately review the

medical records and failed to recognize Ms. Vickers’s symptoms as needing

a neurological consultation to determine whether she was suffering from a

brain tumor. 36


36 The Plaintiffs specifically assert that Dr. Rajkumar was negligent in failing to obtain and

view the brain scan images from 2002 and 2023. However, those images were not
contained within the Charles George VAMC medical records and were not accessible
electronically. In any event, the confidential physician-patient relationship between Dr.

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      The first problem with this claim is the statute of limitations. The

continuous treatment doctrine tolls the statute of limitations only to the extent

that treatment continues by the provider in question or by those under her

direction. Dr. Rajkumar last treated Ms. Vickers or directed her treatment in

2009. As such, the statute of limitations expired on this claim long before

the Plaintiffs filed this action.

      As to the substantive merits of the claims regarding the treatment by

Dr. Rajkumar, the Plaintiffs’ evidence suffers from the same shortcomings as

the claim against Dr. Hume. The brain scan reports did not put Dr. Rajkumar

as a primary care physician on notice of any neurological issue out of the

ordinary for a person of Ms. Vickers’s age. After all, the report of the 2002

scan specifically states that “There is no evidence of an intracranial mass.”

[Pl. Ex. 11 at 18]. Moreover, Ms. Vickers’s other symptoms were generally

explained by her other diagnoses. As such, the Plaintiffs have failed to prove

by the preponderance of the evidence that Dr. Rajkumar was in any way




Rajkumar and Ms. Vickers ended in 2009 when Ms. Vickers moved to Virginia. It is
undisputed that Dr. Rajkumar did not direct any treatment of Ms. Vickers after that date.
As such, the continuous treatment doctrine has no application, and the Plaintiffs’ claim
regarding Dr. Rajkumar is clearly barred by the statute of limitations.

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negligent in her evaluation, monitoring, treatment, follow-up or general care

of Ms. Vickers, or in her review of the medical records.

                             3.     Causation Evidence

       The Plaintiffs also presented the expert testimony of urologist Dr.

Edward Yun. Dr. Yun made clear, however, that he offered no opinion as to

whether any primary care physician breached any standard of care in any

respect of the treatment of Ms. Vickers. In addition, he testified that he was

“not critical of any VA urologist.”37

       Dr. Yun did testify that Ms. Vickers had urinary incontinence issues

going back to the 1990’s, but that her stress incontinence progressed to urge

incontinence.      Based thereon, he opined that the cause of her urge

incontinence was a frontal lobe brain tumor. However, he also testified that

a brain tumor was the cause or urinary incontinence only in a minority of

cases. Moreover, he stated that uncontrolled diabetes was a more common




37 To the extent that the Plaintiffs assert any negligence on the part of Dr. Alan Friedman,

such claims clearly would be barred by the statute of limitations. This is particularly
significant because the Plaintiffs’ main theory appears to be that Ms. Vickers’s
incontinence issues should have alerted someone at the Charles George VAMC to the
connection between these symptoms and a brain tumor. However, the one urologist who
examined her at the Charles George VAMC made no such connection, and any claim
regarding his failure to do so long expired.

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cause. Ms. Vickers had an A1C of 12.3 in April 2016, and 13.438 in June

2016 (compared to a 6.5 threshold for diabetes). In addition, he testified that

obesity is a contributing cause to urge incontinence. It is undisputed that Ms.

Vickers was obese. With all of these factors, Dr. Yun did not explain how he

arrived upon his opinion that a brain tumor was the cause of Ms. Vickers’s

urge incontinence. Thus, the Court discounts this opinion.

      The Government called as an expert urologist Dr. Paul Hatcher. He

opined that Dr. Vickers’s urge incontinence was caused by a combination of

several factors, namely: (1) obesity; (2) diabetes resulting in nerve damage,

thus lessening urinary control; (3) the fact that Ms. Vickers had borne four

children, had a hysterectomy and likely suffered from resultant vaginal

atrophy; and (4) that Ms. Vickers had such ambulatory difficulty that she had

trouble getting to the toilet in time. He further opined that it was extremely

unlikely that Ms. Vickers’s urge incontinence was caused by a brain tumor.

The Court finds Dr. Hatcher’s explanation much more credible in light of how

the causes he relies upon match so much more closely to Ms. Vickers’s


38 Having A1C levels of this magnitude placed Ms. Vickers at a greater risk for a number

of long-term or chronic conditions, such as heart disease, kidney disease, nerve damage,
stroke, memory issues, and retinopathy. See The Diabetes Control and Complications
Trial/Epidemiology of Diabetes Interventions and Complications Study at 30 Years:
Overview | Diabetes Care | American Diabetes Association (diabetesjournals.org),
available at https://diabetesjournals.org/care/article/37/1/9/31789/The-Diabetes-Control-
and-Complications-Trial (last accessed June 3, 2024).
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medical conditions, and because Dr. Yun did not clearly explain why he

found such an unlikely cause to be the actual cause of Ms. Vickers’s urinary

condition.

      Since none of the urological evidence pertained to any allegation of

medical negligence, it may seem that this was all an irrelevant detour. Dr.

Yun, however, provided another opinion regarding causation. He opined that

the urge incontinence caused Ms. Vickers to suffer repeated urinary tract

infections, which were then repeatedly treated with antibiotics, resulting in

Ms. Vickers becoming antibiotic resistant. As a result, Dr. Yun opined, when

Ms. Vickers contracted a urinary tract infection in her final nursing home

placement, the antibiotic treatment was insufficient to prevent it developing

into sepsis, which resulted in her death.

      First, it should be noted that even if this chain of causes were proven,

it is so attenuated as to not constitute proximate cause. See Olds v. United

States, 473 F. App’x 183, 185 (4th Cir. 2012) (“Proximate cause is . . . a

cause which in natural and continuous sequence, unbroken by any new and

independent cause, produced the plaintiff's injuries, and without which the

injuries would not have occurred, and one from which a person of ordinary

prudence could have reasonably foreseen that such a result, or

consequences of a generally injurious nature, was probable under all the
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facts as they existed.); Sheridan v. United States, 773 F.Supp. 786, 791 (D.

Md. 1991) (finding that connection between plaintiff’s injuries and failure of

assailant’s roommate to report possession of weapons by assailant was a

“chain [that] has a number of kinks and is contorted to such an extent that it

cannot fulfill the proximate cause standard”). Moreover, when taken with the

lack of support for the first step of Dr. Yun’s progression, the Court is left to

find and conclude that even if there were any negligence in the failure to treat

Ms. Vickers’s incontinence, such would be neither a cause nor a proximate

cause of her death. It is also noted that this alternate theory was not pleaded

and was first put forward at trial.

      The Plaintiffs, however, attribute more than Ms. Vickers’s death to the

alleged negligence of a VA doctor. They called as an expert Dr. Henry S.

Friedman, a neuro-oncologist. He did not offer an opinion that any VA doctor

failed to comply with any standard of care. He was offered as an expert only

in the field of neuro-oncology, and so could not offer any such opinion

regarding a primary care physician or urologist.39



39 Dr. Friedman testified “To me [as a neuro-oncologist], where everything I take care of

is a brain tumor, a headache is a brain tumor until ruled otherwise.” [Friedman De Bene
Dep. at 136]. He did not, however, offer this as an opinion of the standard of care, even
for a neuro-oncologist, much less a primary care physician. Obviously, a primary care
physician cannot treat every headache as a brain tumor.

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      The purpose of Dr. Friedman’s testimony appears to have been to

present the point that had Ms. Vickers’s tumor been diagnosed earlier, during

a time when it might have been resectable, she would not have suffered

various symptoms during the balance of her life, such as headaches,

lethargy, sleep disruption, dizziness, and weakness. Thus, his testimony

appears to be directed to a diminution in the quality of Ms. Vickers’s life in

her last years due to the failure to resect the tumor some years earlier.

      Noticeably absent from Dr. Friedman’s opinion, however, was any

evidence of when Ms. Vickers’s tumor may have been treatable by resection.

While Dr. Friedman testified that he thought the tumor would have been

resectable if it had been diagnosed at some earlier time, he could not identify

a particular time frame when the tumor would have been resectable and

ultimately conceded that his opinion on this issue was “a matter of

speculation.”   [Friedman De Bene Dep. at 155-56]. He further candidly

testified that whether a tumor would be resectable would ultimately be a

question for a neurosurgeon, which he is not. The Government, however,

did call an expert neurosurgeon, Dr. Julian Bailes. He testified that Ms.

Vickers’s tumor was not resectable in 2017, but neither was it in 2003. He

reviewed the scans from 2003 that were not available to the doctors at the


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Charles George VAMC.40 He testified that the tumor at that time did not have

discrete boundaries. He testified that the type of tumor Ms. Vickers had

concerns the myelin sheath surrounding the nerves that is diffuse in type and

difficult to tell whether it is a tumor, or the result of a stroke or other injury.

He also testified, however, that it is a type of tumor that is responsive to

chemotherapy, which Ms. Vickers’s was. Her tumor shrank with treatment.

Her reported peripheral symptoms, however, did not subside, leading Dr.

Bailes to conclude that her incontinence and other symptoms were the result

of other causes.       He further opined that Ms. Vickers’ constellation of

symptoms was not ordinarily found with such a tumor, further buttressing his

opinion that these symptoms were the result of Ms. Vickers’s myriad other

maladies, and not her brain tumor. For these reasons, Dr. Bailes opined that

from 2006 to 2016, Ms. Vickers did not present with any symptoms of a

neurological condition.

      The Court finds Dr. Bailes’s opinions persuasive, and thus finds and

concludes that the diminution in the quality of Ms. Vickers’s life in her waning



40 As noted supra, although these brain scans were performed at a VA medical facility,

there was evidence presented at trial that VA medical facilities often had difficulties
obtaining medical records from other VA facilities, particularly until 2013 when the VA
upgraded its electronic medical records system. Even with the upgrade, however,
radiographic images, such as the brain scans performed in 2003, were not available
through the electronic system.
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years was the result of her many ailments and not the development of her

brain tumor. The Court further finds and concludes there was no negligence

on the part of any VA doctor that resulted in any such reduced quality of life.

Moreover, even if there had been a breach of the standard of care in failing

to identify or diagnose Ms. Vickers’s brain tumor prior to August 23, 2017,

such failure was not the cause of her death, as the tumor was never

resectable during the period of Ms. Vickers’s treatment at the Charles

George VAMC. As such, the chemotherapy treatment she received upon

her diagnosis was the most appropriate and effective treatment for her

condition.

             D.   Findings and Conclusions Regarding Medical
                  Malpractice and Wrongful Death Claims

      Based on all of the foregoing, the Court finds and concludes as follows:

      (1)     The Plaintiffs’ action against the United States based on the

              alleged medical malpractice of persons at the Charles George

              VAMC is barred by the applicable statute of limitations.

      (2)     Dr. Lara Hume was not negligent in her evaluation, monitoring,

              treatment, follow-up or general care of Katherine Vickers, or in

              the review of Ms. Vickers’s medical records. Further, Dr. Hume

              was not negligent in failing to diagnose or failing to timely

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        diagnose Ms. Vickers’s brain tumor, or in failing to take any steps

        necessary to diagnose or timely diagnose the tumor.

  (3)   Dr. Sarala Rajkumar was not negligent in her evaluation,

        monitoring, treatment, follow-up or general care of Katherine

        Vickers, or in the review of Ms. Vickers’s medical records.

        Further, Dr. Rajkumar was not negligent in failing to diagnose or

        failing to timely diagnose Ms. Vickers’s brain tumor, or in failing

        to take any steps necessary to diagnose or timely diagnose the

        tumor.

  (4)   The Plaintiffs have not proven by the preponderance of the

        evidence that any health care professional or group of health

        care professionals at the Charles George VAMC were negligent

        in their evaluation, monitoring, treatment, follow-up or general

        care of Katherine Vickers, or in the review of Ms. Vickers’s

        medical records. Further, the Plaintiffs have not proven by the

        preponderance of the evidence that any health care professional

        or group of health care professionals at the Charles George

        VAMC were negligent in failing to diagnose or failing to timely

        diagnose Ms. Vickers’s brain tumor, or in failing to take any steps

        necessary to diagnose or timely diagnose the tumor.
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      (5)   No actions or failures to act of Dr. Lara Hume, Dr. Sarala

            Rajkumar or any other health care provider at the Charles

            George VAMC were the proximate cause of any injury to

            Katherine Vickers or of her death.

                     E.    Emotional Distress Claims

      In addition to the medical malpractice and wrongful death claims, the

Plaintiffs assert claims for emotional distress, both intentional and negligent.

The Plaintiffs bring these claims on behalf of Ms. Russe as Katherine

Vickers’s daughter, in addition to the claims for Ms. Vickers. The Plaintiffs

pleaded all four of these claims in an abbreviated fashion without

differentiating between them. Thus, the Plaintiffs’ presentation of these

claims in the evidence and the briefing, as well as the pleadings, has been

haphazard and inconsistent.

                              1.    IIED Claims

      The Court will first address the intentional infliction of emotional

distress (IIED) claims. To recover for IIED under North Carolina law, a

plaintiff must prove that the defendant engaged in “(1) extreme and

outrageous conduct, (2) which is intended to cause and does cause[,] (3)

severe emotional distress to another.” Dickens v. Puryear, 302 N.C. 437,

452, 276 S.E.2d 325, 335 (1981). The North Carolina Court of Appeals has
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instructed that “[l]iability has been found only where the conduct has been

so outrageous in character, and so extreme in degree, as to go beyond all

possible bounds of decency, and to be regarded as atrocious, and utterly

intolerable in a civilized community.” Hogan v. Forsyth Country Club Co., 79

N.C. App. 483, 493-94, 340 S.E.2d 116, 123 (1986) (quoting Restatement

(Second) of Torts, § 46 comment (d) (1965)).

      As a preliminary matter, the FTCA does not permit recovery for an

intentional tort such as IIED. The only intentional torts that come within the

FTCA are assault, battery, false imprisonment, false arrest, abuse of

process, and malicious prosecution, if committed by a law enforcement

officer. See 32 C.F.R. § 750.23(b). In short, there is no basis in law or fact

for the Plaintiffs’ IIED claims under the FTCA.

      Even if such claims could be asserted, the Plaintiffs’ claims for the

intentional infliction of emotional distress are without merit.        The only

argument that the Plaintiffs make regarding the IIED claims pertains to the

refusal of Charles George VAMC social worker Anthony Smalls to honor the

Health Care Power of Attorney (HCPOA) of Ms. Russe, in light of HIPAA.

[Doc. 201 at 27]. As support for this claim, the Plaintiffs cite in their closing

brief to Plaintiffs’ Exhibit 242. That exhibit, however, was never offered into

evidence nor received. In fact, no witness was questioned about this exhibit.
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In the voluminous record in this case, the Court cannot find where the

Plaintiffs offered any evidence on this point or asked any witness about it.

The Plaintiff certainly cite to nothing.41         As such, the Court finds no

evidentiary support for this claim.

      Notwithstanding the Plaintiffs’ absence of evidence on this point, even

if the Plaintiffs had offered such, this claim would fail. There is no mention

of any acts by Mr. Smalls in either the Plaintiffs’ Complaint or the SF 95s. As

such, this claim was never properly before the Court. Moreover, even if this

claim had been pleaded and supported by evidence, the actions that the

Plaintiffs assert were committed by Mr. Smalls were not “outrageous” within

the meaning of the law. For a licensed clinical social worker in a hospital to

misunderstand—or even purposely misrepresent—the interplay between the

HCPOA and HIPAA does not approach the threshold expressed in Dickens.

      To further illustrate how unorthodox the Plaintiffs’ claim and

presentation was, in their closing brief they conflate the legal standards of

outrageous conduct and gross negligence. [Doc. 201 at 27]. Then they

argue that the case of Burgess v. Busby, 142 N.C. App. 393, 544 S.E.2d 4


41 The Plaintiffs examined the Government’s records custodian, Kim Pierce, regarding

the HCPOA document. She testified, however, that she was unaware whether Ms.
Vickers signed the document, and even if it had been signed, whether it would have been
available to a licensed clinical social worker like Mr. Smalls.
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(2001), supports the claim. In that case, a doctor sought to convince all of

his health care provider colleagues in the community to provide no medical

care to the persons who were members of a jury that found his practice liable

for malpractice. Id. at 400, 544 S.E.2d at 7. The Court of Appeals held that

this alleges an outrageous act. Id. at 401, 544 S.E.2d at 8. The Plaintiffs’

assertions regarding Mr. Smalls are in no way similar.

      In addition, the Plaintiffs argue that “Kay Holtzinger intentionally denied

Ms. Vickers the support of her chosen PACT members when she refused to

acknowledge Ms. Vickers[’s] 2016 notice that she wanted Ms. Russe added

as a healthcare agent,” and “[t]his indicates malicious intent as it was

intrusion into the private affairs of Ms. Vickers[ ] that was not within the

purview of Ms. Holtzinger to circumvent Ms. Vickers[’s] express wishes in the

record.” [Doc. 201 at 23]. At trial, Ms. Russe testified that in 2015, 2016,

and 2017, there were at least two instances where Dr. Hume ignored

requests from Ms. Vickers to involve Ms. Russe in her care. [Day 1 Tr., Doc.

196 at 213-14]. Further, Ms. Russe contacted providers at the Charles

George VAMC on four occasions in 2016 and in May 2017 to express

concerns about Ms. Vickers’s mental cognition, [Pl. Ex. 129 at 9; Pl. Ex. 90

at 1-2; Def. Ex. 41; Pl. Ex. 179 at 5; Day 1 Tr., Doc. 196 at 181], and providers


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at the Charles George VAMC did not respond to Ms. Russe about those

concerns, [Day 1 Tr., Doc. 196 at 178-81].



      During her own testimony at trial, Ms. Russe asserted that it was

outrageous for the United States to violate the “promise” of the inclusion of

family members as set out in the brochure. This “claim” was likewise never

pleaded, and would now appear to be abandoned. In any event, the failure

of the PACT to include Ms. Russe in the formulation of a care plan for Ms.

Vickers fails to rise to the type of outrageous behavior required to prevail on

a claim of IIED.42

      Based on the foregoing, the Court finds and concludes that no one

acting on behalf of the United States committed any outrageous act that

would support an IIED claim. Therefore, this claim will be dismissed with

regard to both Plaintiffs.




42 Ms. Russe also attempts to couch her claim regarding her exclusion from the PACT in

terms of a breach of contract. This theory, which is also unpled, also fails on its merits.
There is absolutely no evidence that the PACT brochure that Ms. Russe received
constitutes a contract between her and the Charles George VAMC. Therefore, to the
extent that the PACT brochure “promised” her anything, it is a promise without a meaning.
The PACT’s apparent intention—to include a veteran’s family members in the healthcare
decision-making process—is at most an aspirational statement that has no operative legal
effect. For the Plaintiffs to suggest otherwise is simply frivolous.
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                            2.    NIED Claims

     The Plaintiffs’ negligent infliction of emotional distress (NIED) claims

fare no better. To recover for NIED, a plaintiff must prove that (1) the

defendant engaged in negligent conduct, (2) reasonably foreseeable to

cause the plaintiff severe emotional distress, (3) which, in fact, caused the

plaintiff severe emotional distress. Sorrells v. M.Y.B. Hospitality Ventures,

334 N.C. 669, 672, 435 S.E.2d 320, 321-22 (1993).

     The Plaintiffs alleged in their Complaint that those acting on behalf of

the Government “ignored” (1) Ms. Vickers’s medical records, (2) her requests

for referral, (3) her complaints of ailments, and (4) Ms. Russe’s reports of

Ms. Vickers’s “mental behaviors.” [Doc. 1 at ¶ 127]. However, Ms. Vickers’s

medical records are voluminous. These records recount the VA health

professionals treating Ms. Vickers regularly for a multitude of ailments over

a number of years. The Court has already found that the VA providers acted

within the standard of care (and thus were not negligent) in their treatment

of Ms. Vickers. Each of these allegations concerns some aspect of that

treatment. The Plaintiffs have not demonstrated by the preponderance of

the evidence that anyone on behalf of the Government breached the

standard of care with regard to these specific areas.


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     If the Plaintiffs had proven medical malpractice, some emotional

distress/mental anguish damages may have flowed therefrom. The Court,

however, has held that there was no medical malpractice. There is no

separate NIED claim that flows from a patient’s disappointment as to how

her case was handled where there was no professional negligence.

     In their post-trial closing brief, the Plaintiffs focus on the actions of

social worker Kay Holtzinger. Once again, the Plaintiffs focus on the failure

to abide by the “promise” set out in the PACT brochure. First of all, the

Plaintiffs make no mention of Ms. Holtzinger or the PACT “promise” in either

their Complaint or the SF 95s. As such, this claim is not before the Court.

     Nonetheless, the claim also fails on the merits. HIPAA requires that a

patient provide a valid written authorization before private medical

information can be provided to other individuals. 42 U.S.C. § 1320d-6(a),

(b); 45 C.F.R. § 164.508(a)(1)). A valid authorization must be signed by the

patient and must include a description of the information to be used or

disclosed, as well as identify the individuals authorized to receive such

information.   45 C.F.R. § 164.508(c)(1).     Consistent with HIPAA, Ms.

Holtzinger testified that she “cannot reach out to family members without the

veteran’s written consent and permission.” [Holtzinger De Bene Tr. at 84].

There is absolutely no evidence that Ms. Vickers gave a valid authorization
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that meets HIPAA’s requirements and allowed the Charles George VAMC to

disclose information about her health care to Ms. Russe.

      Further, providers at the Charles George VAMC, and particularly Ms.

Holtzinger, understood Ms. Vickers to have a difficult relationship with Ms.

Russe and to disagree with Ms. Russe’s opinion regarding the state of her

health. Considering the requirements of HIPAA43 and the Charles George

VAMC’s knowledge of the contentious relationship between Ms. Vickers and

Ms. Russe, the Court cannot find that employees at the Charles George

VAMC were negligent in failing to include Ms. Russe in Ms. Vickers’s

PACT.44


43 Even if the Court were convinced that North Carolina law imposed a duty to include Ms.

Russe in Ms. Vickers’s medical care, any such duty would be preempted by federal law,
because such duty would be inconsistent with HIPAA. See Mutual Pharm. Co., Inc. v.
Bartlett, 570 U.S. 472, 480 (2013) (holding that a state law is preempted where it is
impossible for a private party to comply with both state and federal requirements).
44 Although Ms. Vickers executed a health care power of attorney and an authorization

for the use and disclosure of protected health information in August 2017, those
documents granted Ms. Russe the power to make decisions regarding Ms. Vickers’s
health care and access Ms. Vickers’s health information only if a physician “determine[d]
that [Ms. Vickers] lack[ed] capacity to make or communicate decisions relating to [her]
health care.” [Pl. Ex. 251 at 13, 19]. On February 9, 2018, Dr. Hume entered a note in
Ms. Vickers’s medical record that “[d]aughter Rupa Russe is her POA/medical decision
maker since patient has cognitive impairment.” [Holtzinger De Bene Tr., at 97]. However,
Ms. Holtzinger testified that just “because Dr. Hume wrote that does not mean that it is
accurate at this point in time.” [Id. at 99]. Rather, “[t]here would need to be other
paperwork involved stating that she does lack capacity to make decisions.” [Id. at 91]
(emphasis added). Ms. Holtzinger further testified that Ms. Vickers’s paperwork did not
“confirm” the information noted by Dr. Hume, and she “[has] not seen anything that has
deemed [Ms. Vickers] to lack capacity.” [Id. at 97] (emphasis added). Thus, in addition to

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       Therefore, because the Plaintiffs have failed to prove by a

preponderance of the evidence that employees at the Charles George

VAMC engaged in negligent conduct when excluding Ms. Russe from Ms.

Vickers’s PACT, the Plaintiffs’ NIED claims must fail.

       It is understandable that Ms. Russe was distressed. Her mother was

very ill and had been for years. To attribute such distress to social workers

who were trying to navigate the complexities of HIPAA, however, is entirely

implausible. It is so implausible in fact, that the Plaintiffs did not assert such

actions as being a source of Ms. Russe’s distress until the trial was

approaching. Moreover, although one would imagine that Ms. Vickers was

distressed by her poor health, Ms. Vickers repeatedly expressed her full

satisfaction with her treatment at the Charles George VAMC. All of these

factors, taken with the sheer paucity of evidence linking any action or inaction

of any VA employee with any emotional distress of Ms. Russe or Ms. Vickers,

underscores that the Plaintiffs’ emotional distress claims are not supported

by law or fact.       Plaintiffs’ counsels are cautioned not to pursue such

groundless claims.



there being no evidence that Ms. Vickers gave a valid authorization to disclose her
individually identifiable health information as required by HIPAA, the Plaintiffs have also
failed to show that Ms. Vickers’s health care power of attorney or authorization for the use
and disclosure of protected health information was effective in July 2018.
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                                CONCLUSION

     For the foregoing reasons, the Plaintiffs have failed to prove any of

their remaining claims by a preponderance of the evidence. Accordingly,

judgment will be entered in favor of the Defendant on all of the Plaintiffs’

claims.



                                     ORDER

     IT IS, THEREFORE, ORDERED that a Judgment shall be entered in

favor of the Defendant United States against the Plaintiffs Rupa Russe and

the Estate of Katherine Monica Vickers, and the Plaintiffs shall recover

nothing of the Defendant. The costs of this action are hereby taxed against

the Plaintiffs. A judgment consistent with this Memorandum of Decision and

Order shall be filed contemporaneously herewith.

     IT IS SO ORDERED.
                        Signed: June 11, 2024




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